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                                     UNITED STATES DISTRICT COURT

                                     SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                     MDL No. 2924
    PRODUCTS LIABILITY                             20-MD-2924
    LITIGATION
                                                   JUDGE ROBIN L. ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE E. REINHART
    _____________________________ _/

    THIS DOCUMENT RELATES TO:

    Campion v. GlaxoSmithKline LLC, et al.,               No. 24-cv-80265 (S.D. Fla.).
    Cusick v. GlaxoSmithKline LLC, et al.,                No. 24-cv-80271 (S.D. Fla.).
    Rascento v. GlaxoSmithKline LLC, et al.,              No. 24-cv-80264 (S.D. Fla.).
    Rounds v. GlaxoSmithKline LLC, et al.,                No. 24-cv-80266 (S.D. Fla.).



                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO VACATE OR

                DECLINE TO ENFORCE PRETRIAL ORDER NO. 72 AND REMAND

              The above-captioned Plaintiffs (“Plaintiffs”), by and through undersigned counsel,

    respectfully submit this reply in response to Defendants’, GlaxoSmithKline LLC, Pfizer Inc.,

    Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim USA Corporation, Sanofi US

    Services Inc., Sanofi-Aventis U.S. LLC, and Patheon Manufacturing Services LLC

    (“Defendants”), Opposition to Plaintiffs’ Motion to Vacate or Decline to Enforce Pretrial Order

    No. 72 and Remand. This motion is filed with leave of Court pursuant to Amended Pretrial Order

    No. 24.
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                                               INTRODUCTION

           Defendants argue in their opposition that “[i]t is undisputed that Plaintiffs Campion,

    Williams, Rounds, and Rascento voluntarily entered the Registry by filing CPFs.” Opposition, at

    5. But, that is wrong on two fronts. As a threshold matter, the question is not whether a Plaintiff

    voluntarily entered the registry under Pretrial Order 15 (“PTO 15”). Participation in the registry

    by submitting a Census Plus Form (“CPF”) did not release any claims and did not create any

    estoppel. Rather, the question is whether they voluntarily certified their claims under Pretrial

    Order 72 (“PTO 72”), which is what required registrants to forgo claims against diversity

    destroying Defendants. This is the linchpin. Certification under PTO 72 is the only thing that

    could prevent Plaintiffs from pursuing their claims against Patheon, which is an otherwise valid

    defendant that destroys this Court’s subject matter jurisdiction.

           So, the question turns on whether the certification under PTO 72, done without Plaintiffs’

    consent or knowledge, can bind them from asserting claims against an otherwise valid

    Defendant. The answer is a resounding no: Plaintiffs did not consent to certify their claims

    under PTO 72 and, thus, could not legally or ethically waive their claims against Patheon.

    Defendants provide no evidence to the contrary.

           Defendants attempt to reframe the certification as being a simple tactical decision on

    litigation management and venue. But, a plain reading of PTO 72 belies that claim. PTO 72

    clearly releases all claims against any diversity destroying defendant and enforces that release

    with estoppel. Before a client can be bound by such an agreement, that client must be informed

    and must give consent. Maxum Indem. Co. v. Fun Zone Ent., LLC, No. 3:18-CV-477-J-34PDB,

    2020 WL 3052092, at *1 (M.D. Fla. Feb. 5, 2020), report and recommendation adopted sub

    nom. Maxum Indem. Co. v. Shaw, No. 3:18-CV-477-J-34PDB, 2020 WL 1547453 (M.D. Fla.

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    Mar. 25, 2020); see In re Glover, No. 07-95002-PWB, 2009 WL 6498524, at *3 (Bankr. N.D.

    Ga. Apr. 29, 2009); Valenzuela v. Cnty. of San Diego, No. D056134, 2011 WL 3795538, at *4

    (Cal. Ct. App. Aug. 26, 2011). At minimum, an attorney and client should have a conversation

    regarding these decisions. In re Engle Cases, 283 F. Supp. 3d 1174, 1198-99 (M.D. Fla. 2017).

             This is blackletter law. It is consistent with the core principles underlying the attorney-

    client relationship, the rules of professional responsibility, and common sense. Nowhere is this

    basic principle more salient than here, where binding Plaintiffs to an agreement that they never

    consented to would eviscerate their entire claims—claims that are viable in the court, where their

    case was first filed, with authorization i.e., Delaware state court. For this Court to bind Plaintiffs

    to a PTO 72 certification that they never consented to, and effectively ensure that their case is

    over, would constitute a manifest injustice—the very result the Rules abhor. To avoid this

    manifest injustice, Plaintiffs respectfully request that the Court exercise its discretion to vacate

    the unauthorized PTO 72 certifications (for Plaintiffs Rounds, Campion, and Cusick), and

    different-injury PTO 72 certification (for Plaintiff Rascento), and remand each case back to

    Delaware Superior Court.

                                                   ARGUMENT

           The Court should reject Defendants’ arguments for three main reasons. First,

    Defendants’ only evidence are the CPFs they provided, which bear on whether Plaintiffs

    registered their claims under PTO 15, but not whether they certified their claims under PTO 72.

    Second, vacating the PTO 72 certification would prevent a two-fold manifest injustice: (a)

    holding Plaintiffs Campion, Rounds, and Cusick to certification forms and complaints that they

    did not discuss, review, nor approve, which leads to the complete release of their claims against

    Patheon and, in effect, a complete dismissal of all their claims by being forced into federal court;



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    and (b) barring Plaintiffs Rounds, Campion, Cusick, and Rascento from their day in court, in the

    name of pretrial procedure technicalities. Defendants cite no persuasive authority to the

    contrary. Finally, there is no prejudice to Defendants by being forced to litigate this case in their

    home court jurisdiction of Delaware state court—the jurisdiction each Defendant elected to

    incorporate.

              I.   The Evidence Is Clear—Plaintiffs Rounds, Cusick, and Campion Never
                   Consented or Gave Authorization to Certify their Claims under PTO 72 and,
                   Thus, They Should Not Be Bound to those Certifications

           Throughout Defendants’ opposition, they conflate registry under PTO 15 with

    certification under PTO 72. They are different things. When the Court created the MDL

    registry, it allowed Plaintiffs to obtain tolling by submitting CPFs to participate in the registry.

    However, the Court’s order specifically stated:

           Claimants further commit, to the extent that they file an action, to name only
           those defendants that they have a good faith belief marketed or manufactured
           Zantac or ranitidine products that such Claimants ingested or that they in good
           faith believe they may have a valid claim against for other reasons. The
           requirement to file in a federal court shall not be applicable to actions as to
           which a federal court would lack diversity jurisdiction.

    PTO # 15 at ¶ 6 (emphasis added). In other words, a plaintiff did not release claims against

    diversity-destroying defendants like Patheon by participating in the registry or submitting a CPF.

    Moreover, the registry under PTO 15, issued April 2, 2020, left the door open to file in state

    court should complete diversity exist. However, PTO 72, entered two years later, changed that.

    It forced plaintiffs, who participated in the registry, to decide whether they would release claims

    against diversity-destroying defendants and commit to the MDL exclusively by becoming

    Certified Federal Participants (“CFPs”). PTO # 72 at ¶ 6 (“By participating in the certification

    process described in this Order, a Certified Federal Participant agrees that (i) he or she is

    estopped from filing a lawsuit concerning Zantac or any generic equivalent ranitidine product in

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    a state court[.]”). Indeed, the express purpose of PTO 72 was to finalize where Plaintiffs would

    ultimately file their claims. Id. at 1–2 (“[T]he parties and the Court need to know with some

    degree of certainty who the Claimants are, what claims they intend to file, and where the

    Claimants will file their claims.”). Thus, although the acronyms are similar, filing a CPF to

    participate in the registry does not equal becoming a CFP through certification under PTO 72.

               Defendants cannot cite to Plaintiffs’ CPFs as evidence of them certifying under PTO 72.

    Filing a CPF did not release or create estoppel for claims against a diversity destroying

    Defendant. Only certification under PTO 72 could estop Plaintiffs’ claims against Pantheon,

    which is an otherwise valid diversity-destroying Defendant.

               Here, Defendants present the CPFs of Plaintiffs Cusick, Rascento, and Rounds as

    evidence that they voluntarily agreed to participate in the MDL’s registry.1 But, those

    documents cannot show consent to certification under PTO 72, with its estoppel provisions.

    Plaintiff Cusick’s CPF was supposedly signed November 30, 2020 (which is impossible because

    he was dead). Defendants’ Ex. C. Even if he was able to sign the document postmortem, it

    could not constitute a certification under PTO 72, because that order had not yet been issued.

    The same applies to Plaintiffs Rascento and Rounds, who supposedly signed their CPFs on April

    5, 2021 and December 16, 2021, which both predate PTO 72 and its estoppel provisions. This

    means, the very documents presented by Defendants cannot establish that Plaintiffs voluntarily

    assented to PTO 72, even assuming they are valid.

               Defendants claim that some attorney later certified these Plaintiffs under PTO 72—but,

    provide no evidence to that effect for Plaintiffs Cusick and Rounds. For Plaintiff Campion,

    Defendants present a CPF dated after PTO 72, but it is signed by a paralegal. So, even assuming



    1
        Plaintiffs dispute this point factually, which is discussed in more depth below in Subsection II.

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    Defendants are correct, that some attorney did certify each Plaintiff under PTO 72, it leads to the

    next issue, i.e., whether those certifications are legally binding without consent.

           PTO 72 clearly releases claims against diversity destroying defendants and enforces that

    with estoppel. PTO 72 states that “none of the Anticipated Defendants may have the same

    citizenship as the Certified Federal Participant” and that “[b]y participating in the certification

    process described in this Order, a Certified Federal Participant agrees that (i) he or she is

    estopped from filing a lawsuit concerning Zantac or any generic equivalent ranitidine product in

    a state court[.]” PTO 72 ¶¶ 5, 6. By certifying participation under PTO 72, each Plaintiff

    necessarily releases claims against a defendant with the same citizenship of the Plaintiff.

           Defendants contend certifying claims under PTO 72 in the MDL were necessary,

    incidental decisions regarding management of Plaintiffs’ suits—meaning they did not require

    consent—but they cited no cases to support this. At best, they provide lukewarm parentheticals

    from cases outside this jurisdiction, regarding attorney’s abilities to make tactical decisions

    “during the management” or “progress of the action.” Defendants cite a Missouri state court

    from 1988, Rosenblum v. Jacks or Better of Am. W. Inc., where the court echoes the “general

    principle . . . an attorney’s employment alone implies no authority to settle or compromise the

    client’s case.” 745 S.W.2d 754, 760 (Mo. Ct. App. 1988). And Plaintiffs agree—releasing

    claims against diversity destroying defendants compromises a case and, thus, cannot be done

    without client consent. Sawyer v. Sawyer is a Pennsylvania state court case dealing with an

    attorney who lacked authority to settle a case. No. 809 MDA 2016, 2017 WL 3476779, at *13

    (Pa. Super. Ct. Aug. 14, 2017). Plaintiffs also agree, attorneys cannot settle a case, or

    compromise it, without authority.

           Defendants also cite a California case, Munroe v. Univ. of S. California, which also



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    weighs against their argument. There, the court held “[d]ecisions to settle or arbitrate are

    steadfastly vested with the client [and] always requires client consent.” No.

    CV166191VAPCFEX, 2017 WL 1654075, at *5 (C.D. Cal. Mar. 23, 2017), aff'd, 896 F.3d 1088

    (9th Cir. 2018). The Munroe Court explained an attorney has authority on matters of procedure

    (e.g., “venue, discovery methods, and evidence”), but this authority is only “vested in the

    lawyer’s discretion . . . so far as [the agreements] are simply necessary or incidental to the

    management of the suit, and . . . affect only the procedure or remedy as distinguished from the

    cause of action itself, and the essential rights of the client[.]” Id.; see Knabe v. Brister, 154 Cal.

    App. 4th 1316, 1324 (2007) (“An attorney who takes these types of acts without his or her

    client's consent ‘impairs so substantial a portion of the case or so fundamental a right of the

    client that it justifies setting aside a stipulation’”) (citations omitted). The court agreed it is not

    just settlement or dismissal of a case that “compromises” or “impairs” a claim. 2017 WL

    1654075, at *5. An attorney cannot ad hoc violate an essential right. Id.

            Defendants mischaracterize Maxum Indemnity Company v. Fun Zone Entertainment, LLC

    to say it does not apply. Defendants portray the Maxum pretrial stipulation as an “agreement[ ]to

    settle claims,” so Defendants say it does not apply. Opp., at 7-8. However, as explained in the

    original motion, the facts are messier than that, which is why the case is instructive. The Maxum

    Court’s analysis was thorough, because “[t]he stipulation [did] not neatly qualify as a pretrial

    stipulation, a voluntary dismissal, or a consent judgment but share[d] characteristics of all of

    those types[.]” 2020 WL 3052092, at fn. 28. In the end, the court relieved the parties of the

    stipulation, using the manifest injustice standard under Rule 60, which applies to final

    judgments. Id.

            Plaintiffs cite Maxum, a recent case from a federal Florida court, because the court



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    explains the analysis and result would apply with Rule 16(c) as well, even if the stipulation was

    deemed more like an interlocutory order or pretrial stipulation. Id. at fn. 36. The court instructs

    that the lack of consent vitiates PTO 72 certification, because it is “[m]anifest injustice . . . where

    counsel enters into a stipulation that essentially settles the case without his client’s consent.”

    Maxum Indem. Co., 2020 WL 3052092, at *25. Whether the release of those claims comes in the

    context of an agreement to not sue, enforced though estoppel, like it was in PTO 72, or an old-

    fashioned settlement agreement—releasing claims, no matter how done, requires client consent.

    The court declined to enforce the pretrial stipulation, even though it was “interlocutory in

    nature,” because it would be a manifest injustice to allow an attorney to enter a pretrial

    stipulation without client consent and estop their claims from being heard. See 2020 WL

    3052092, at *10-12, *25. The court was persuaded by testimony that the clients never saw the

    stipulation beforehand. Id.

           The law is clear—certification under PTO 72 required consent, and the record indicates

    that attorneys that made the certifications, did not have it. Indeed, Defendants’ only evidence

    that Plaintiffs “voluntarily entered the Registry” are the CPFs, which bear questionable

    electronic signatures and, save Plaintiff Campion (which was signed by a paralegal), predate

    entry of PTO 72. That evidence is consistent with Rounds and the personal representatives for

    both Campion and Cusick declaring, under oath, “[i]f anyone filed my Zantac case in federal

    court or categorized me as a ‘Certified Federal Participant,’ it was done without my knowledge

    or consent.” Declaration of David Rounds, at 1-2; Declaration of Cathy Williams, at 1;

    Declaration of William H. Campion, at 1 (emphasis added). Indeed, the CFPs also strongly

    indicate that attorneys, not clients, performed the certifications.

           Rounds did not authorize any law firm to use his signature nor file his Zantac case in



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    federal court as a “Certified Federal Participant.” Declaration of David Rounds, at 1. He did

    not even discuss the matter with any other law firm. See id. Though, Rounds did authorize

    Moore Law Group to represent him and file a Zantac claim in Delaware state court. Id.

    Defendants’ only evidence is CPF submitted on David Rounds’ behalf, which bears an electronic

    signature he did not authorize nor discuss, which was filed before PTO 72 was entered.

    Defendants’ Ex. B.

           In Cusick, although Carey Danis & Lowe, LLC and Cathy Williams (decedent Cusick’s

    personal representative) did have a brief conversation, Ms. Williams was under the impression

    that they were working with Wisner Baum. Declaration of Cathy Williams, at 1. She did not

    execute a retainer agreement with them and had the intent to have Wisner Baum represent her.

    Id. Wisner Baum had the authority to file her case in Delaware state court, but no law firm had

    authority to file in federal court as a Certified Federal Participant. Id. It was done without her

    knowledge or her signature. Id. Indeed, the CPF allegedly submitted by Gaylon Cusick is

    electronically signed by him – not his personal representative, over a year after Mr. Cusick

    passed away. Defendants’ Ex. C. Mr. Cusick later submitted two supplements, though neither

    supplement has an attached certification page bearing his signature. Id.

           Similarly, Mr. Campion never conversed with any other firm, other than Wisner Baum.

    Declaration of William H. Campion, at 1. There is no evidence that Romanucci & Blandin had

    the authority to act on his behalf, and clear testimony indicating otherwise. Id. Based on the

    CFP produced by Defendant, it was signed more than five years after her death by “Henri

    Swanson,” a paralegal at Romanucci & Blandin. Defendants’ Ex. A. The fact that a paralegal

    signed the CPF, not the decedent or personal representative, underscores that Mr. Campion did

    not know this certification was occurring.



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           In sum, the testimony of Plaintiff Rounds, and the personal representatives of Plaintiffs

    Cusick and Campion, make it clear that they had no hand in certifying their claims under PTO 72

    or the filing of MDL complaints. Absent some iota of evidence that these certifications under

    PTO 72 were authorized, which would release claims against Patheon, they are invalid and

    cannot be used to restrict Plaintiffs’ cases on the merits. Even in the hypothetical that they

    consented to certification, courts have broad discretion in whether to enforce a pretrial order, and

    Plaintiffs Rounds, Campion, Cusick, and Rascento should not lose their day in court for

    upholding a technicality in a pretrial procedure. E.g., Dickerson v. Cent. United Life Ins. Co.,

    932 F. Supp. 1471, 1474 (M.D. Ga. 1996) (citing Fed. R. Civ. P. 16(e)); see Carroll v. Pfeiffer,

    262 F.3d 847, 849 (8th Cir. 2001). For these reasons, the certifications should be vacated.

            II.    No prejudice would befall Defendants.

           Plaintiffs in this case are but hundreds of the 70,000 claimants in Delaware state court.

    Defendants dramatize the reality, alleging that it would “upend the Registry process” if the court

    vacates the unauthorized certifications of these Plaintiffs. With respect—that is immaterial to

    these Plaintiffs, that clearly elected to pursue their claims in Delaware state court months before

    this Court entered its Daubert ruling. These Plaintiffs clearly manifested their intent to not

    proceed in the MDL, and made that decision before the fate of cases in the MDL were known.

    For those cases, there is absolutely no prejudice to Defendants. The tens of thousands of cases

    that did certify under PTO 72 with client authorization are still valid. These handful of cases are

    a drop in the bucket, and Defendants cannot claim surprise when these cases have been pending

    in Delaware state court for years. The integrity of the registry depends on its fairness to the

    parties, not whether a cancer victim is prejudiced by the acts of lawyers acting without

    authorization. Vacating the PTO 72 certifications causes zero prejudice to Defendants, and



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    nearly complete prejudice to Plaintiffs.

           III.    Vacatur of Certification Triggers Remand for Lack of Subject Matter
                   Jurisdiction.

           As admitted by Defendants, if certification under PTO 72 is vacated, or declined to be

    enforced, then PTO 72’s estoppel provisions cannot, as a matter of law, bind Plaintiffs; and, their

    claims against Patheon are not impossible. Therefore, their claims against Patheon are not

    fraudulently joined and this Court must remand it for lack of subject matter jurisdiction.

                                               CONCLUSION

           Thus, Plaintiffs respectfully request that the Court enter an order (1) vacating certification

    under PTO 72 of the cases represented by the above-named Plaintiffs and (2) remanding these

    cases respectively back to Delaware state court so that they may continue to proceed where they

    were, originally, filed almost two years ago.

                        CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3)

           Pursuant to Local Rule 7.1(a)(3), the undersigned, on behalf of Plaintiffs, conferred with

    all parties or non-parties who may be affected by the relief sought in the motion in a good faith

    effort to resolve the issues raised in the motion and has been unable to do so.

    Dated: July 24, 2024                            Respectfully submitted,

    /s/ R. Brent Wisner                             /s/ Jennifer A. Moore
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                                        CERTIFICATE OF SERVICE

            I hereby certify that on this 24th day of July, 2024, the foregoing was filed electronically

     through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.



                                                 /s/ R. Brent Wisner
                                                      R. Brent Wisner, Esq.




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